     CASE 0:13-cv-03451-SRN-HB Document 4692 Filed 11/07/18 Page 1 of 6



                IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA


In Re: RFC and ResCap Liquidating Trust         No. 13-cv-3451 (SRN/HB)
Litigation


This document relates to:                       No. 14-cv-01716 (SRN/HB)

Residential Funding Company, LLC, Plaintiff

v.

Home Loan Center, Inc., Defendant




                   DEFENDANT HOME LOAN CENTER’S
                   PROPOSED SPECIAL VERDICT FORM
     CASE 0:13-cv-03451-SRN-HB Document 4692 Filed 11/07/18 Page 2 of 6



                           PRELIMINARY STATEMENT

      Pursuant to the Court’s request, Defendant Home Loan Center respectfully submits

the following revised special verdict form. Home Loan Center believes that the Court

should employ the special verdict form that Home Loan Center submitted on October 2,

2018. See ECF 4505. Nonetheless, in light of the Court’s rulings and reserving all rights

for appeal, Home Loan Center submits the following revised special verdict from for the

Court’s consideration.




                                           1
     CASE 0:13-cv-03451-SRN-HB Document 4692 Filed 11/07/18 Page 3 of 6



                 DEFENDANT’S PROPOSED VERDICT FORM

I.    Liability for Certain Categories of Loans

      A.    Bulk Loans

                  Has the Plaintiff proven by a preponderance of the evidence that
                  Home Loan Center and RFC agreed that the Client Guide would apply
                  to loans sold in “bulk” packages?

                  Yes _____    No _____

                  If your answer is No, then Plaintiff may not recover indemnity with
                  respect to “bulk” loans, and you should proceed directly to Part I.B.
                  below.

                  If your answer is Yes, you must accept the Plaintiff’s determinations
                  that certain “bulk” loans in the Plaintiff’s Home Loan Center sample
                  breached representations and warranties in the Client Guide, and you
                  should proceed to Part I.B. below.

      B.    POA Loans

                  Has the Plaintiff proven by a preponderance of the evidence that
                  Home Loan Center and RFC agreed that the Client Guide would apply
                  to pay option adjustable rate mortgage loans sold in 2006–2007
                  (“POA loans”)?

                  Yes _____    No _____

                  If your answer is No, then Plaintiff may not recover indemnity with
                  respect to POA loans, and you should proceed directly to Part II
                  below.

                  If your answer is Yes, you must accept the Plaintiff’s determinations
                  that certain POA loans in the Plaintiff’s Home Loan Center sample
                  breached representations and warranties in Client Guide, and you
                  should proceed directly to Part II below.




                                         2
      CASE 0:13-cv-03451-SRN-HB Document 4692 Filed 11/07/18 Page 4 of 6



II.    Allocation and Damages

       A.    MBIA Settlement

                  Has the Plaintiff proven to a reasonable degree of certainty what dollar
                  amount of the MBIA Settlement, if any, should be allocated to claims
                  against RFC resulting from breaches by Home Loan Center of
                  representations and warranties in the Client Guide?

                  Yes _____     No _____

                  If your answer is No, the Plaintiff may not recover indemnity with
                  respect to the MBIA Settlement.

                  If your answer is Yes, specify the amount of the MBIA Settlement
                  that resulted from breaches by Home Loan Center of representations
                  and warranties in the Client Guide. Your answer may not exceed
                  $33,984,559, which are the damages alleged by the Plaintiff with
                  respect to the MBIA Settlement:______________________

       B.    FGIC Settlement

                  Has the Plaintiff proven to a reasonable degree of certainty what dollar
                  amount of the FGIC Settlement, if any, should be allocated to claims
                  against RFC resulting from breaches by Home Loan Center of
                  representations and warranties in the Client Guide?

                  Yes _____     No _____

                  If your answer is No, the Plaintiff may not recover indemnity with
                  respect to the FGIC Settlement.

                  If your answer is Yes, specify the amount of the FGIC Settlement that
                  resulted from breaches by Home Loan Center of representations and
                  warranties in the Client Guide. Your answer may not exceed
                  $819,906, which are the damages alleged by the Plaintiff with respect
                  to the FGIC Settlement:______________________




                                          3
    CASE 0:13-cv-03451-SRN-HB Document 4692 Filed 11/07/18 Page 5 of 6



     C.    Syncora Settlement

                   Has the Plaintiff proven to a reasonable degree of certainty what dollar
                   amount of the Syncora Settlement, if any, should be allocated to
                   claims against RFC resulting from breaches by Home Loan Center of
                   representations and warranties in the Client Guide?

                   Yes _____     No _____

                   If your answer is No, the Plaintiff may not recover indemnity with
                   respect to the Syncora Settlement.

                   If your answer is Yes, specify the amount of the Syncora Settlement
                   that resulted from breaches by Home Loan Center of representations
                   and warranties in the Client Guide. Your answer may not exceed
                   $4,336, which are the damages alleged by the Plaintiff with respect to
                   the Syncora Settlement:______________________

     D.    Trust Settlement

                   Has the Plaintiff proven to a reasonable degree of certainty what dollar
                   amount of the Trust Settlement, if any, should be allocated to claims
                   against RFC resulting from breaches by Home Loan Center of
                   representations and warranties in the Client Guide?

                   Yes _____     No _____

                   If your answer is No, the Plaintiff may not recover indemnity with
                   respect to the Trust Settlement.

                   If your answer is Yes, specify the amount of the Trust Settlement that
                   resulted breaches by Home Loan Center of representations and
                   warranties in the Client Guide. Your answer may not exceed
                   $5,842,270, which are the damages alleged by the Plaintiff with
                   respect to the Trust Settlement:______________________


                                                      ____________________________
                                                      Foreperson

Dated: _________


                                           4
   CASE 0:13-cv-03451-SRN-HB Document 4692 Filed 11/07/18 Page 6 of 6




Dated: November 6, 2018                Respectfully submitted,

                                       ZELLE LLP

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                                   5
